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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division
Case Number: 19-22603-CIV-MORENO
SHERRY MOSLEY,

Plaintiff,

vs.

CARNIVAL CORP., a foreign corporation,
d/b/a CARNIVAL CRUISE LINES,

Defendant.
/

ORDER GRANTING MOTION FOR LEAVE TO FILE FIRST AMENDED
COMPLAINT

THIS CAUSE came before the Court upon Verified Motion for Leave to File First

Amended Complaint (D.E. 12), filed on October 9, 2019.

THE COURT has considered the motion, the pertinent portions of the record, and being

otherwise fully advised in the premises, it is

ADJUDGED that the motion is GRANTED. Plaintiff shall have until October 16, 2019

 

to seperately file the amended complaint.

gf

DONE AND ORDERED in Chambers at Miami, Florida, this fs / of October 2019.

  

 

    

FEDERICO
UNITED STATES DISTRICT JUDGE

Copies furnished to:

 

Counsel of Record
